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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


DONNA CURLING, et al.

       Plaintiffs,

v.                                                  CIVIL ACTION
                                                  NO. 1:17-CV-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.


     DEFENDANTS’ NOTICE OF FILING OBJECTIONS AND SLIDES

       Following the conclusion of the trial in this action, Curling and Coalition

Plaintiffs and Plaintiff Davis filed their PowerPoint slides that were used at

trial on the docket. [Docs. 1813, 1814, 1818]. Plaintiff Davis has also filed

several proffers of what he refers to as “evidence.” [Docs. 1806, 1809, 1817].

       Defendants maintain their position that these slides and proffers are not

evidence. Defendants continue to object to the Court’s consideration of items

filed into the lengthy record of this case that is not part of the evidence

presented at trial. The Court’s decision in this case must be based on

admissible evidence at trial.

       With that caveat, to assist the Court in its consideration of the

admissible evidence presented by the parties at trial, Defendants provide
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electronic copies of their slides for opening and closing statements, attached to

this Notice.

      Respectfully submitted, this 8th day of February, 2024.

                                        Vincent R. Russo     242628
                                        Josh Belinfante      047399
                                        Carey A. Miller      976240
                                        Alexander Denton 660632
                                        Edward A. Bedard 926148
                                        Javier Pico Prats    664717
                                        Anna Edmondson 289667
                                        ROBBINS ALLOY BELINFANTE
                                           LITTLEFIELD, LLC
                                        500 14th St. NW
                                        Atlanta, GA 30318
                                        T: (678) 701-9381
                                        F: (404) 856-3255
                                        E: vrusso@robbinsfirm.com
                                           jbelinfante@robbinsfirm.com
                                           cmiller@robbinsfirm.com
                                           adenton@robbinsfirm.
                                           ebedard@robbinsfirm.com
                                           jpicoprats@robbinsfirm.com
                                           aedmondson@robbinsfirm.com

                                        /s/Bryan P. Tyson
                                        Bryan P. Tyson      515411
                                        Diane F. LaRoss     430830
                                        Bryan F. Jacoutot 668272
                                        TAYLOR ENGLISH DUMA LLP
                                        1600 Parkwood Circle, Suite 200
                                        Atlanta, GA 30339
                                        T: 678-336-7249
                                        E: btyson@taylorenglish.com
                                           dlaross@taylorenglish.com
                                           bjacoutot@taylorenglish.com

                                        Counsel for Defendants
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                 LOCAL RULE 7.1(D) CERTIFICATION

     I certify that this Defendants’ Notice of Filing Objections and Slides

has been prepared with one of the font and point selections approved by the

Court in Local Rule 5.1. Specifically, this document has been prepared using

13-pt Century Schoolbook font and type.

                                          /s/ Bryan P. Tyson
                                          Bryan P. Tyson




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